                  Case 5:19-cv-00673-XR Document 11-1 Filed 12/23/19 Page 1 of 2


                                      IPP International U.G. Declaration Exhibit A
                                        File Hashes for IP Address 76.253.65.71

ISP: AT&T U-verse
Physical Location: Pflugerville, TX



Hit Date UTC            File Hash                                             Title
03/23/2019 01:29:31     CB77E43971A3AD7F4E82151E70B8A2AB98B9660B              Hot Office Sex

03/22/2019 12:32:59     64543C72681411D76A22BA9D85DE003071FF53ED              Lingerie Birthday Surprise

03/10/2019 23:10:55     0294BB72CCDC51CD5DCE35057907DAA15DA461A6 Supermodel Sex

02/28/2019 02:26:11     E0F5AE588A3EB396863483FB8FD6AF8B15C29723              Cum In For An Orgy

02/28/2019 01:21:40     C1543F45AF1BC5A1B4CD9CE49D301B6F8B42D011              In The Mood

01/13/2019 02:02:36     7E257EBFF8E251B8C7D5B64CE6A7218C3EEF66D8              Sex And Fashion A Threeway Project

01/12/2019 23:38:01     270330701EEC1161D7229136BB938DA1D8ABDF55              18 Year Old Models First Time
                                                                              Threesome

12/29/2018 21:47:22     9813E1636AC496680E1120A32C18480590EFD2B0              Threeway Strip Poker

12/08/2018 02:20:27     4C46F34F2008E346FCD584E5844F79213DEC44F5              Everybody Plays Three Ways

11/01/2018 03:28:10     6BA3863D38D640403559B71AB74E5D65AA66B296              Surprise Sex For Three

09/26/2018 11:21:01     16540A069860446050189D1C8F2DA71FE4787B69              Stripshow Sex

09/22/2018 02:01:40     84D042055565918C19A6D0019970A2AE1AE5C66B              Sexy Movies Cum Inside

09/13/2018 11:24:56     8B13C0643AF97C46E7B33AB5FDB77B04E2E5F117              Sex With Gymnasts

09/13/2018 11:13:27     82891A385FF32F3569856CE193914F0E3C4925D1              Teach Me About Sex

07/15/2018 19:27:30     6328B208498C109D6EFC9A77581474694711F92B              Afternoon Rendezvous

07/15/2018 19:24:06     761C73E3510E4D50FD82F82EECAC6E8671341092              Our Lucky Day

07/15/2018 18:11:49     7F82BD81B5ABABB4B01B41EA0F35B8A93F8BC7C6              Summertime Sex

06/20/2018 00:08:28     BC1F91AB1FA496D453C80A2534589ED83BC9F579              Two Gentlemen and A Lady

05/14/2018 15:13:43     BCC6142F2347A53D8491834CCD2AE9C8DF7E816A              A Walk To Remember

04/05/2018 13:01:09     C78692725E360537BCEBBA49789076697AB563D5              Never Have I Ever Had A Threesome Like
                                                                              This



                                                      EXHIBIT A
WTX30
                Case 5:19-cv-00673-XR Document 11-1 Filed 12/23/19 Page 2 of 2


Hit Date UTC          File Hash                                  Title
02/09/2018 03:14:23   463F73D49530FC53A05A7D4AC405F14CDB3FF5C9   Watch Me Cum For You

02/09/2018 02:14:27   E29D753F860FE87DDE8DBB0E09FAEDF14208095D   Deeper and Deeper

01/13/2018 16:13:44   3311AEAD7B82A383B1C9A5898A94EA1D96CBF745   Hot Coffee

12/22/2017 16:19:57   7B1338CF011BB8AE92A32A35EE2FB215DC210A5F   Fill Her Up

12/22/2017 14:58:12   507D295A735F5464F4C3DB79DC495B3077D31578   Piano Concerto

12/22/2017 14:57:03   5F524DF15759705BDA6D385631FD6ACDE6D080CD   The Tightest Blonde

12/22/2017 14:53:55   AB2EFD6A4F586BE75346B5ACD568B6D94D9DD74C   Would You Fuck My Girlfriend

12/22/2017 14:00:58   296611FFFE925E019A9DA4DA27A5A307978EBCCE   Love Burns Again

12/22/2017 11:12:40   ABAF93A6E2F868765C236D60E7770E16CBABF40E   Five Reasons to Love Sex with Blondes

12/22/2017 10:49:49   7453C1E4B31F2DFE7A0620439A0D387B1559EC44   Your Luckiest Night

08/31/2017 12:31:52   5FD28AA7ADD967571F60FB7B519EC4F06AAA0F0D   Born To Be Wild

08/13/2017 23:28:56   61A46020579D808D7753177E3E3C3ADD8DFF4132   Fit For A Fuck

08/13/2017 17:27:41   0E992AADEBF3D624A638B6D4CD0934A5E8EBF215   Susie Up Close and Personal

08/13/2017 12:29:37   89B1D793636AF77DECDD2D0C433D7419FB328136   XXX Threeway Games

08/13/2017 12:25:52   C06868491BB3010DC2292A25CF658979195D0F4D   Sex For Three By The Sea

08/13/2017 11:27:55   29F22087D08778A5F07FA7D88C9F1B70E27DA387   A Fucking Hot Threesome

03/09/2017 22:44:28   27BBB5802EAB51683B352E88A98F380B88B68FA1   Deep Inside Gina

02/11/2017 18:26:20   9ACCD9F498769C3E61D1934C9237406ACF9D11DE   The Call Girl

02/11/2017 17:46:16   3F4A5DBF141AC8226C9FFA51A3E357A71593FAFC   A Rose A Kiss and A Bang

02/11/2017 15:41:53   BB5EC5864734FE9BCCE962C969669FFA2B741845   Want To Fuck My Wife


Total Statutory Claims Against Defendant: 40




                                               EXHIBIT A
WTX30
